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                                                                                                        2/3/2022 8:26 AM
                                                                                                     Hidalgo County Clerk
                                                                                         Accepted by: Gabriela Moreno


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                              CAUSE NUMBER _______________

ARTURO REYNOSO                             §            COUNTY COURT
Plaintiff
                                           §
                                           §
V.                                         §            AT LAW __________
                                           §
                                           §
VIVINT, INC.                               §
Defendant                                  §
                                           §           HIDALGO COUNTY, TEXAS

                             PLAINTIFFS’ ORIGINAL PETITION

               TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES ARTURO REYNOSO hereinafter called Plaintiff, complaining of and
about VIVINT, INC. hereinafter called Defendant, and for cause of action shows unto the Court
the following:

                           DISCOVERY CONTROL PLAN LEVEL

       Plaintiff intends that discovery be conducted under Discovery Level 2.

                                    PARTIES AND SERVICE

        Plaintiff is an individual that resides in Hidalgo County, Texas. Defendant VIVINT,
INC. is an out of state corporate defendant formed in the state of Utah, with a Registered Agent
Name “C T CORPORATION SYSTEM” and a registered office street address at 1999 Bryan
Street Suite 900, Dallas, Texas 75201. Service of said Defendant as described above can be
effectuated by and through the Texas Secretary of State.

                                 JURISDICTION AND VENUE

         The subject matter in controversy is within the jurisdictional limits of this court. This court
has jurisdiction over the parties because Defendant is an out-of-state corporate defendant that has
been conducting business in Hidalgo County, Texas, therefore, because Defendant has availed
itself to Hidalgo County, Texas for the purpose of furthering its pecuniary interests, the Defendant
can be hauled into Court and sued in Hidalgo County, Texas; furthermore, all or part of the acts or
omissions that give rise to Plaintiff’s claim occurred here in Hidalgo County, Texas; and because
the amount in controversy is less than $75,000.00 this Honorable Court has jurisdiction over this
cause. Venue in Hidalgo County is proper in this cause under Section 15.002(a)(1) of the Texas
Civil Practice and Remedies Code because all or a substantial part of the events or omissions
giving rise to this lawsuit occurred right here in this county.
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                                              FACTS

       On or about May 2019, Defendant VIVINT, INC. hired Plaintiff ARTURO REYNOSO to
work for the company full time. While employed under defendant, Plaintiff worked at the office
of Defendant located in Mission, Texas in Hidalgo County.

        Plaintiff’s primary duties while employed by Defendant were to train new employees on
the sales strategy that the company pushed down on all of its employees and to further the
company’s pecuniary interests by engaging in sales for the company.


    PLAINTIFF'S CLAIM OF BREACH OF CONTRACT AGAINST DEFENDANT
                             VIVINT, INC.


       At some point in time, an employee of Defendant VIVINT, INC. named STACY
GONZALEZ offered Plaintiff and other employees performance based pay incentives that were
pushed down directly from Defendant VIVINT, INC. on or about late September 2020 during the
coronavirus pandemic when sales were less certain.

        Plaintiff ARTURO REYNOSO accepted the offer given to him by the Defendant VIVINT,
INC. through its employee STACY GONZALEZ, and fully performed under the contract earning
approximately $30,000.00—the exact amount to be later determined. Plaintiff ARTURO
REYNOSO received some but not all of the performance based pay that he earned; thus,
Defendant VIVINT, INC. is now in breach of contract for nonpayment of the sum certain amount
that Plaintiff is due as an unreasonable amount of time has passed since Plaintiff terminated his
employment with Defendant VIVINT, INC.

       Plaintiff now has damages as a direct result of Defendant VIVINT, INC’s breach, for
which he now sues in this Honorable Court.


        Defendant owed Plaintiff a duty to pay in full on a timely basis under the agreement and
to date, defendant has failed to pay the full amount Plaintiff is owed which is approximately
$30,000.00; thus, Defendant VIVINT, INC. is now in breach of contract. That being said,
Defendant knows it is in breach with not only the Plaintiff ARTURO REYNOSO, but other
potential plaintiff parties as well, and it has made several unsuccessful attempts to get the Plaintiff
to engage in nonbinding arbitration based in the same of Utah; however, Plaintiff has adamantly
denied availing himself to a state he has no ties to under any circumstances, as he is domiciled in
Texas, and so he now sues Defendant for Breach of Contract in Hidalgo County, Texas.


      By reason of the above damages, Plaintiffs has been damaged in an amount in excess of the
minimal jurisdictional limits of this Court. Plaintiff seeks monetary relief of $30,000.00 (thirty
thousand dollars) or LESS unless so found by a jury of his/her peers or by the judge as the
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trier of fact, exclusive of statutory damages, pre- and post-judgment interest, and costs of
Court.

                                           PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff, respectfully prays that the
Defendant be cited to appear and answer herein, and that upon a final hearing of the cause,
judgment be entered for the Plaintiff against Defendant for damages in an amount within the
jurisdictional limits of the Court; exemplary damages, excluding interest, and as allowed by Sec.
41.008, Chapter 41, Texas Civil Practice and Remedies Code, together with pre-judgment interest
(from the date of injury through the date of judgment) at the maximum rate allowed by law; post-
judgment interest at the legal rate, costs of court; and such other and further relief to which the
Plaintiff may be entitled at law or in equity. Plaintiff respectfully requests a trial by judge.

                                             Respectfully submitted,

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                                             104 S 23rd Street
                                             McAllen, Texas 78501
                                             Phone: (956) 686-4357
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                                             By: /s/ Chris Sanchez________________________
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